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 1 MAYER BROWN LLP
   Matthew H. Marmolejo (CA Bar No. 242964)
 2 mmarmolejo@mayerbrown.com
   333 S. Grand Avenue, 47th Floor
 3 Los Angeles, CA 90071-1503
   Telephone: +1.213.229.9500
 4
   VINSON & ELKINS LLP
 5 Stephen M. Medlock (VA Bar No. 78819)
 6 (pro hac vice)
   smedlock@velaw.com
 7 2200  Pennsylvania Ave., N.W., Ste. 500 W
   Washington, DC 20037
 8 Telephone: +1.202.639.6500
   Facsimile: +1.202.879.8939
 9
   CENTER FOR GENDER AND REFUGEE STUDIES
10 Melissa Crow (DC Bar No. 453487)
   (pro hac vice)
11 crowmelissa@uclawsf.edu
   1121 14th Street, N.W., Suite 200
12 Washington, DC 20005
   Telephone: +1.202.355.4471
13 Facsimile: +1.415.581.8824
14
                          UNITED STATES DISTRICT COURT
15
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
16                                  (San Diego)
17
     AL OTRO LADO, Inc., et al.,                         Case No. 17-CV-02366-BAS-KSC
18
19                                  Plaintiffs,          Hon. Cynthia Bashant
                              v.
20                                                       DECLARATION OF REBECCA M.
                          1
21 KRISTI NOEM, et al.,                                  CASSLER IN SUPPORT OF
                                                         PLAINTIFFS’ RULE 60(B) MO-
22
                                    Defendants.          TION FOR RELIEF FROM THE
23                                                       JUDGMENT AND REQUEST FOR
24                                                       INDICATIVE RULING
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         Secretary Noem is automatically substituted pursuant to Fed. R. Civ. P. 25(d).


                                                             Cassler Decl. ISO Pls.’ Rule 60(b) Motion for Relief
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 1                    DECLARATION OF REBECCA M. CASSLER
 2         I, Rebecca M. Cassler, hereby declare under penalty of perjury pursuant to 28
 3   U.S.C. § 1746:
 4         1.     I am a Senior Litigation Attorney at the American Immigration Council
 5   and counsel for the Plaintiffs in this case.
 6         2.     My co-counsel, Melissa Crow, submitted a declaration (the “Crow
 7   Declaration”) in support of Plaintiffs’ Rule 60(b) Motion on December 27, 2024
 8   (ECF No. 842-1). The government submitted a declaration from Ebbed Joseph (the
 9   “Joseph Declaration”) of United States Citizenship and Immigration Services
10   (“USCIS”) on January 31, 2025, in support of its Response to Plaintiffs’ Motion.
11   (ECF No. 846-1).
12         3.     The Joseph Declaration provides slightly different data than the Crow
13   Declaration regarding USCIS’s past efforts to screen for relief non-detained
14   individuals with unexecuted expedited removal orders under the injunction in this
15   case. Compare Crow Decl. ¶ 44, with Joseph Decl. ¶¶ 5-6. These differences are
16   marginal and do not affect the conclusion in the Crow Declaration that where the
17   government’s screening efforts “have not been completed, it is Plaintiffs’ counsel’s
18   understanding that additional notice and screening efforts appear to be largely
19   futile.” Crow Decl. ¶ 42.
20         4.     The Joseph Declaration states that 205 people received class member
21   screening and eight were identified as class members, Joseph Decl. ¶ 5, whereas the
22   Crow Declaration states that 201 people were screened and seven were identified as
23   class members, Crow Decl. ¶ 44.
24         5.     The spreadsheet that the government provided to Plaintiffs’ counsel on
25   December 19, 2024, reflecting the status of these USCIS screenings, has a column
26   entitled “AOL Screening Not Needed,” and another entitled “Interview Completed.”
27   If all entries with a “yes” in the “AOL Screening Not Needed” column are filtered
28   out, 201 names remain with a “yes” in the “Interview Completed” column. However,

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 1   without that filtering, there are 205 names with a “yes” in the “Interview Completed”
 2   column. Thus, the government’s data shows that four names were recorded as both
 3   not needing an AOL screening and having a completed screening interview, which
 4   accounts for the discrepancy between 201 and 205 screenings completed. One of
 5   these four names was determined to be a class member, which accounts for the
 6   difference between seven and eight identified class members in the two declarations.
 7   This particular class member’s “AOL Interview Date,” according to the spreadsheet,
 8   was March 11, 2021, 1.5 years before the current screening process was put in place
 9   on September 12, 2022. Joseph Decl. ¶ 3.
10         6.     Two more of the eight total identified class members also had their
11   screening interviews completed before September 2022, and one was determined to
12   be entitled to relief under the injunction while one other was not. Of the five class
13   members who have been identified since the September 2022 procedures were put
14   into place, one of them was also determined not to be entitled to any relief under the
15   injunction. Thus, under the current procedures in place since September 2022, as of
16   December 18, 2024, the government had identified only four class members whom
17   the government had not already identified in a prior round of screening who were
18   eligible for relief under the injunction. And, as previously stated, Crow Decl. ¶ 44,
19   the last fruitful screening was on May 4, 2023.
20         7.     The Joseph Declaration also states that USCIS has reviewed all 3,225
21   of the cases listed on the spreadsheet the government produced to Plaintiffs in
22   December 2024, Joseph Decl. ¶ 5, whereas Plaintiffs previously made the more
23   conservative assumption that approximately 3,000 of those cases had been reviewed,
24   based on various notations in the spreadsheet, Crow Decl. ¶ 44 (assuming review
25   was complete in only 2,999 cases). In light of the government’s declaration that
26   3,225 cases have been reviewed, the relevant rates of positive outcome are as
27   follows:
28                     0.24% of cases reviewed are class members (eight out of 3,225);

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 1                     0.18% of cases reviewed are class members who were entitled to
 2                      relief under the PI (six out of 3,225); and
 3                     0.12% of cases reviewed are class members entitled to relief
 4                      under the PI who were first identified as a result of the screening
 5                      procedures implemented in September 2022 (four out of 3,225).
 6         8.     Additionally, the spreadsheet the government produced illustrates that
 7   USCIS did relatively little screening pursuant to the injunction in this case in 2024,
 8   and that screening tapered off significantly as the year went on. Based on the
 9   government’s own data, USCIS conducted only ten screening interviews in 2024
10   (through December 18 of that year)—eight total in January and February, one in
11   July, and one in September. An additional 17 interviews were scheduled between
12   January and July where the interviewee did not show up. This represents a sharp
13   drop in screening activity from prior years: USCIS completed 87 interviews in 2023
14   and 98 interviews in 2022.
15         9.     Since the filing of the Crow Declaration, the second of two PI class
16   members that Plaintiffs’ counsel identified outside the United States, Crow Decl. ¶
17   40 n.4, has returned to the United States, where he continues to await a decision on
18   his motion to reopen removal proceedings.
19         10.    I declare under penalty of perjury under the laws of the United States
20   of America that the preceding declaration is true and correct.
21
22         Executed on this 7th day of February 2025 in Silver Spring, Maryland.
23
24         /s/ Rebecca M. Cassler
25         Rebecca M. Cassler
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 1                            CERTIFICATE OF SERVICE
 2         I certify that I served a copy of this document on the Court and all parties by
 3   filing this document with the Clerk of the Court through the CM/ECF system, which
 4   will provide electronic notice and an electronic link to this document to all counsel
 5   of record.
 6
 7   DATED: February 7, 2025                Respectfully submitted,
 8
 9                                          s/ Matthew E. Fenn
                                            Matthew E. Fenn
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11                                          Attorney for Plaintiffs
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